Case 2:19-cv-09953-ES-CLW Document 28 Filed 02/24/20 Page 1 of 1 PageID: 111




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   Domingo Zafras                                          UNITED STATES DISTRICT COURT
                                                           DISTRICT OF NEW JERSEY
                                                           CIViL CASE NO: 2:19-cv-09953-ES-CLW
                                                      )
                                       Plaintiff(s)
                                             )             Civil Action
   Vs.                                       )
                                             )
   Sazzod Hossain,   Luxury One  Corp., Park )             STIPULATION OF DISMISSAL
   Insurance Company & New Jersey            )             WITH PREJUDICE
   Property Liability Insurance Guaranty     )
   Association                               )
                               Defendant(s) )



            This matter in difference in the above entitled action having been amicably adjusted by and between
   the panics it is hereby stipulated and agreed that the some be and it is hereby dismissed without costs against
   either party.



   Dated: January 30, 2020

   Lane M. Ferdin1                                             Chaan Lam        co Mallon & Cappuro



  Lane M.                                                      Mr. John V Mallon, Esq.
  Attorney                                                     Attorney for Defendant




                                                                            H f. Es3’as,
